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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

IN THE MATTER OF:
Luisa Fernanda Alonso                                                    CASE NO.: 23-20053-PDR
                                                                         Chapter 13
                       Debtor/

DEBTOR’S RESPONSE IN OPPOSITION TO US BANK TRUST NATIONAL ASSOCIATION’S
  MOTION FOR RETROACTIVE RELIEF FROM THE AUTOMATIC STAY TO VALIDATE
                           FORECLOSURE SALE

       COMES NOW, the Debtor, Luisa Fernanda Alonso (“Debtor”), by and through her

undersigned counsel, and files this Response in Opposition to US Bank Trust National

Association’s (“US Bank”) Motion for Relief from the Automatic Stay to Validate Foreclosure

Sale [ECF No. 15], and in support thereof, states:

       I.     BACKGROUND

       On December 5, 2023, at 9:00am, the Debtor filed for Chapter 13 protection. This is

the first and only case filed by the Debtor. This case was filed prior to the commencement of

the Broward County auction calendar scheduled for December 5, 2023. The Debtor

subsequently filed a Suggestion of Bankruptcy in the underlying foreclosure case (the

“Foreclosure Case”). The Suggestion was filed after the foreclosure auction but prior to the

Clerk of Court issuing the Certificate of Sale. While the Debtor is not alleging that a willful

violation of the automatic stay took place, the foreclosure sale of the Debtor’s homestead

property was in violation of the automatic stay, as the sale occurred one hour and thirty-six

minutes after the Debtor filed her chapter 13 case pro-se.




                                        COHEN LEGAL SERVICES, P.A.
               1801 NE 123rd Street, Suite 314 ● North Miami, Florida 33181 ● Telephone (305) 570-2326

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       II.     MEMORANDUM OF LAW

        a. The December 5, 2023, Foreclosure Sale is Void

       Pursuant to 11 U.S.C §362, the filing of a Chapter 13 petition enacts an automatic stay

of protection, prohibiting the enforcement of a judgment obtained prior to the

commencement of a bankruptcy filing. That automatic stay is effective against all the world,

regardless of whether a party had notice of the bankruptcy filing or of the automatic stay. In

re Peralta, 317 B.R. 381, 389 (9th Cir. BAP 2004). The Eleventh Circuit has made it clear, that

actions taken in violation of the automatic stay are void ab initio and therefore without effect.

United States v. White, 466 F.3d 1241, 1244 (11th Cir. 2006); Middle Tenn. News Co. v. Charnel

of Cincinnati, Inc., 250 F.3d 1077, 1082 (7th Cir.2001). This includes orders entered by state

courts. In re Clarke, 373 B.R. 769 (Bankr. S.D. Fla).

       While a bankruptcy court has no jurisdiction to direct another court to enter an order

rescinding a foreclosure sale, the Court may nonetheless grant relief determining that

foreclosure sale conducted in violation of the automatic stay is void. In re Jocelyn, 574 B.R.

771 (Bankr. M.D. Fla. 2017).

        b. Debtor has Equity in her homestead property

       The Bankruptcy Code provides that a creditor may seek stay relief for cause - which

includes; “(A) the debtor does not have an equity in such property; and (B) such property is

not necessary to an effective reorganization”. 11 U.S.C. 362(d)(2). The Creditor erroneously

states that the property lacks equity and is therefore entitled to stay relief. The Debtor

disputes the creditor’s valuation of its property and submits to the Court that the true market

value of the property is $657,000.00. Attached is a copy of the Zestimate as Exhibit “A”.

       Furthermore, the Debtor’s chapter 13 plan provides US Bank with monthly adequate

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protection payments in the amount of $2,325.00, this amount represents 31 percent of the

Debtor’s gross household income as required under the District’s Mortgage Modification

Mediation Program.

        c. Creditor Fails to Demonstrate That An Extraordinary Remedy of
           Retroactive Stay Relief is Warranted

        The granting of retroactive stay relief is an extraordinary remedy and a remedy that

should only be granted under limited and special circumstances. In re Grason, citing Will v.

Ford Motor Credit Co. (In re Will), 303 B.R. 357, 368 (Bankr.N.D.Ill.2003).

       This instant case is the only bankruptcy to be filed by the Debtor and the first such

case that Debtor has attempted to utilize the benefits of the Bankruptcy Code to reorganize

her mortgage.

       Contrary to US Bank’s argument that this case was filed in bad faith, the Debtor has

satisfied all of her requirements and has retained counsel shortly after filing this case, has

since filed her Plan, Schedules, Statements and other Section 521 required documents.

Additionally, the Debtor has filed a Verified Motion for Referral to participate in the District’s

Mortgage Modification Mediation Program and on December 21, 2023, the Court entered an

Order granting the Debtor’s Motion. Since the granting of the Motion, the Debtor has

uploaded the required documents for the Creditor to review her for a loan modification.

       The facts in this case differ greatly from those cases which US Bank chose to rely upon.

The line of cases cited by US Bank are dissimilar to this case, as those cases address chapter

11 business reorganizations. Aside from the pending foreclosure, this case shares no

similarities with the cited cases and is not relevant to an individual chapter 13 Debtor’s filing.

The primary purpose for many debtors filing a chapter 13 bankruptcy is to save their

homestead property. Public and practical considerations also support the Court denying the
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Creditor’s Motion, as a finding of bad faith of a debtor filing their first and only bankruptcy

to save their home would have a chilling effect on homeowners from filing a chapter 13

bankruptcy to save their homes.

                                                CONCLUSION

       The Debtor filed this case prior to the foreclosure sale thus imposing the automatic

stay as a protection against her creditors. The sale which occurred post-petition is void ab

initio. US Bank has failed to establish that stay relief is warranted under Section 362 as the

Debtor has filed all of her Section 521 required documents and is providing adequate

protection payments through her chapter 13 plan. For these reasons, this Court should deny

US Bank’s Motion for Relief from the Automatic Stay.

       WHEREFORE, Debtor, Luisa Fernanda Alonso, respectfully prays this Court enter an

Order denying the Creditor’s Motion for Retroactive Relief from the Automatic Stay to Validate

foreclosure Sale , granting Cohen Legal Services, PA attorney’s fees which were incurred as a

result of this response and pursuant to Fla. Stat. 57.105, and for any additional relief the

Court deems just and necessary.

                                                             Submitted by:

                                                             /s/ Rachamin Cohen
                                                             Rachamin “Rocky” Cohen, Esq.
                                                             Attorney for Debtor
                                                             Florida Bar No. 96305
                                                             1801 NE 123rd Street, Suite 314
                                                             North Miami, FL 33181
                                                             Telephone: 305-570-2326
                                                             Email: rocky@lawcls.com




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                                       CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
of the Southern District of Florida, that I am in compliance with the additional qualifications
to practice in this Court set forth in Local Rule 2090-1(A), that the above information is true
and correct under penalty of perjury, and that a true and correct copy of the foregoing was
served the 4th day of January 2024, upon those listed on the attached service list.

       Robin Weiner Trustee                ecf@ch13weiner.com
       Office of the US Trustee            USTPRegion21.MM.ECF@usdoj.gov
       Matthew Klein                       matthew@howardlaw.com
       Scott Andron                        sandron@broward.org

                                                             Submitted by:

                                                             /s/ Rachamin Cohen
                                                             Rachamin “Rocky” Cohen, Esq.
                                                             Attorney for Debtor
                                                             Florida Bar No. 96305
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                                                             North Miami, FL 33181
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                Exhibit “A”
1/4/24, 3:14 PM                     Case 23-20053-PDR                                Doc
                                                                                     1672031    Filed
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                                                                                                                                                                 99+
                  Miramar FL               Add another location                                                                                              FC


   $657,000
    Sold       Price
            -- bd             Beds & Baths
                    -- ba 2,481 sqft                                                 Home Type               More (1)    Save search            77 Saved Homes

   16720 SW 36th St, Miramar, FL 33027
     Pre-foreclosure           Remove                                             Re-
                                                                                                      Miramar FL Recently Sold Homes
                                                                                                      28 results                           Sort: Homes for You
                             Boundary
   / auction Zestimate®: $657,000                                               center


                                                                                           Get more info


    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


          Singlefamily

          Built in 2000

          No data

          No data

          No data
       672K
        $222    monthly HOA fee
            651K
                721K
        5,364 sqft    --
                   715K
                                   749K 652K 804K                  767K
                                                                               766K
          $265 price/sqft
               882K
                 777K
                   719K                                                                733K
     631K
            632K             776K       739K734K
                                            666K798K
                                                 740K
                                                   657K714K690K
                                                           783K                               677K
                713K
                                                                                    713K

   Overview
   800K
     641K
                          747K
                                            657K 659K                 706K
                                                                             698K
                                                                                            651K


   This
   777K is a 2481
      654K
               732K square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.
                                                            745K
          713K             776K                                                            699K
                                  758K                                                            7
57K 98 days on
            653KZillow                           |                        34 views                           |          0 saves
   667K                                                                         761K             76
                                         520K                                                   697
                            711K
                             642K                    780K
                                                    782K
                                                    750K
                                                    792K                                      636K
                                                                                              737K
   Listed by:545K              730K
                                  643K                             658K        490K
                                    435K
                                             798K            769K
                                 759K
                                                        746K
                                                                                              540K
                  Get pre-qualified for a loan 710K
                  Talking to a lender early580K
                                            to get pre-qualified for a mortgage can give you an advantage in a competitive
     902K                                       --
                      k                            645K
                                                                 833K
                   705K                                                        806K
    836K
      724K
         849K
         846K
                 728K
                 966K
     751K                                 717K
                    746K759K
                  1.01M
                   891K
             790K 957K




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                                                                 1/11
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                                                                                  SW 36th      01/04/24
                                                                                          St, Miramar, FL 33027Page
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                                                               Map                            Sold 08/04/2023

         Map data ©2024 Imagery ©2024 , Airbus, Maxar Technologies, U.S. Geological Survey



   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                     : $657,000
                                                                                             $800,000
                                                                                             4 bds | 4 ba | 2,805 sqft - Sold
                                                                                             16801 SW 36th Ct, Miramar, FL 33027
                                                                                             NRH REAL ESTATE


    Overview Facts and features Foreclosure information Home value   Price and tax history Payment calculator Nearby sch
                                                                Sold 01/03/2023


        Singlefamily

        Built in 2000

        No data

        No data                                                                              $667,000
                                                                                             4 bds | 4 ba | 2,693 sqft - Sold
        No data
                                                                                             16800 SW 36th Ct, Hollywood, FL 33027
                                                                                             5 PERCENT PROPERTY MANAGEMENT
        $222 monthly HOA fee

        5,364 sqft                                                                            Sold 12/12/2022


        $265 price/sqft



   Overview
   This is a 2481 square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.
                                                                                             $705,000
   98 days on Zillow                          |                     34                       5 bds ||3 ba | 2,986 sqft0- Sold
                                                                                             16501 SW 37th St, Miramar, FL 33027
                                                                                             REDFIN CORPORATION
   Listed by:

                                                                                              Sold 12/02/2022

                  Get pre-qualified for a loan
                  Talking to a lender early to get pre-qualified for a mortgage can give you an advantage in a competitive
                      k




                                                                                             $905,000
                                                                                             5 bds | 3 ba | 2,986 sqft - Sold
                                                                                             3600 SW 168th Ter, Miramar, FL 33027
                                                                                             KELLER WILLIAMS REALTY PREMIER PROPERTIES




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                                        2/11
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                                                                   SW 36th      01/04/24
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                                                                           Sold 11/07/2022




   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                 : $657,000
                                                                          $43,500
                                                                          6,534 sqft lot - Sold
                                                                          37 Street & Southwest Ave #166, Miami, FL 33185
                                                                          COLDWELL BANKER REALTY


    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


        Singlefamily

        Built in 2000

        No data

        No data                                                           $520,000
                                                                          4 bds | 3 ba | 2,032 sqft - Sold
        No data
                                                                          16904 SW 35th St, Hollywood, FL 33027
                                                                          THE KEYES COMPANY
        $222 monthly HOA fee

        5,364 sqft                                                         Sold 08/22/2022


        $265 price/sqft



   Overview
   This is a 2481 square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.
                                                                          $715,000
   98 days on Zillow                   |               34                 4 bds ||4 ba | 2,693 sqft0- Sold
                                                                          3606 SW 168th Ter, Miramar, FL 33027
                                                                          RE/MAX POWERPRO REALTY
   Listed by:
                                                                           Sold 07/21/2022


                  Get pre-qualified for a loan
                  Talking to a lender early to get pre-qualified for a mortgage can give you an advantage in a competitive
                      k



                                                                          $515,000
                                                                          3 bds | 3 ba | 1,879 sqft - Sold
                                                                          3435 SW 169th Ter, Hollywood, FL 33027




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                            3/11
1/4/24, 3:14 PM               Case 23-20053-PDR             Doc  31SW 36th
                                                             16720     Filed    01/04/24
                                                                           St, Miramar, FL 33027Page
                                                                                                 | Zillow 10 of 17

                                                                           Sold 07/15/2022




   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                 : $657,000
                                                                          $710,000
                                                                          -- bds | -- ba | 3,001 sqft - Sold
                                                                          3662 SW 166th Ave, Hollywood, FL 33027


    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


        Singlefamily

        Built in 2000

        No data

        No data

        No data

        $222 monthly HOA fee

        5,364 sqft

        $265 price/sqft



   Overview
   This is a 2481 square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.

   98 days on Zillow                   |               34                       |               0

   Listed by:



                  Get pre-qualified for a loan
                  Talking to a lender early to get pre-qualified for a mortgage can give you an advantage in a competitive
                      k




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                            4/11
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                                                             16720     Filed    01/04/24
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   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                 : $657,000




    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


        Singlefamily

        Built in 2000

        No data

        No data

        No data

        $222 monthly HOA fee

        5,364 sqft

        $265 price/sqft



   Overview
   This is a 2481 square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.

   98 days on Zillow                   |               34                       |               0

   Listed by:



                  Get pre-qualified for a loan
                  Talking to a lender early to get pre-qualified for a mortgage can give you an advantage in a competitive
                      k




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                            5/11
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   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                 : $657,000




    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


        Singlefamily

        Built in 2000

        No data

        No data

        No data

        $222 monthly HOA fee

        5,364 sqft

        $265 price/sqft



   Overview
   This is a 2481 square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.

   98 days on Zillow                   |               34                       |               0

   Listed by:



                  Get pre-qualified for a loan
                  Talking to a lender early to get pre-qualified for a mortgage can give you an advantage in a competitive
                      k




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                            6/11
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                                                             16720     Filed    01/04/24
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   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                 : $657,000




    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


        Singlefamily

        Built in 2000

        No data

        No data

        No data

        $222 monthly HOA fee

        5,364 sqft

        $265 price/sqft



   Overview
   This is a 2481 square foot, single family home. This home is located at 16720 SW 36th St, Miramar, FL 33027.

   98 days on Zillow                   |               34                       |               0

   Listed by:



                  Get pre-qualified for a loan
                  Talking to a lender early to get pre-qualified for a mortgage can give you an advantage in a competitive
                      k




https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                            7/11
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                                                                 16720     Filed    01/04/24
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   $657,000 -- bd -- ba 2,481 sqft
   16720 SW 36th St, Miramar, FL 33027


   / auction                  : $657,000




    Overview Facts and features Foreclosure information Home value Price and tax history Payment calculator Nearby sch


        Singlefamily

        Built in 2000

        No data                                                                 Save this search to get email alerts when listings hit the
                                                                                market.
        No data
                                                                                                        IDX information is provided exclusively for personal,
        No data                                                                                         non-commercial use, and may not be used for any
                                                                                purpose other than to identify prospective properties consumers may be
        $222 monthly HOA fee                                                    interested in purchasing. Information is deemed reliable but not guaranteed.
                                                                                The listing broker’s offer of compensation is made only to participants of the
                                                                                MLS where the listing is filed.
        5,364 sqft
                                                                                            All listings featuring the BMLS logo are provided by
        $265 price/sqft                                                                     Beaches MLS, Inc. This information is not verified for
                                                                     authenticity or accuracy and is not guaranteed. Copyright 2024 Beaches
                                                                     Multiple Listing Service, Inc. Information is provided exclusively for
                                                                     consumers' personal, non-commercial use and may not be used for any

   Overview                                                          purpose other than to identify prospective properties consumers may be
                                                                     interested in purchasing. The listing broker's offer of compensation is made to
                                                                     participants of BeachesMLS, where the listing is filed, as well as participants of
                                                                     MLSsatparticipating
   This is a 2481 square foot, single family home. This home is located      16720 SWin MLSAdvantage
                                                                                            36th St, Miramar,or a dataFL
                                                                                                                       share with BeachesMLS.
                                                                                                                         33027.

   98 days on Zillow                     |                 34                          |                    0
                                                                               Sold: Florida • Broward County • Miramar

   Listed by:                                                                  MIRAMAR REAL ESTATE FACTS

                                                                               HOME VALUES BY CITY

                  Get pre-qualified for a loan                            Miramar Homes for Sale                                                      $504,451

                  Talking to a lender early to get pre-qualified for a mortgage   can give
                                                                          Hialeah Homes       you an advantage in a competitive
                                                                                         for Sale                                                     $448,577
                      k                                                   Pembroke  Pines Homes   for Sale                                            $484,781
                                                                               Miami Gardens Homes for Sale                                           $442,140
                                                                               Davie Homes for Sale                                                   $513,101
                                                                               Country Club Homes for Sale                                            $354,443
                                                                               Cooper City Homes for Sale                                             $655,293
                                                                               Miami Lakes Homes for Sale                                             $636,088
                                                                               Hialeah Gardens Homes for Sale                                         $416,630
                                                                               Carol City Homes for Sale                                              $482,751
                                                                               Opa-locka Homes for Sale                                               $354,708
                                                                               West Park Homes for Sale                                               $399,951
                                                                               Westview Homes for Sale                                                $415,986


https://www.zillow.com/homes/16720-SW-36th-St-Miramar,-FL-33027_rb/43261420_zpid/                                                                                8/11
1/4/24, 3:14 PM               Case 23-20053-PDR             Doc  31SW 36th
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                                                                          Southwest Ranches Homes for Sale                      $1,266,856
                                                                          Norland Homes for Sale                                 $235,350
                                                                          Palm Springs North Homes for Sale                      $643,803

   $657,000 -- bd -- ba 2,481 sqft                                        Sunshine Acres Homes for Sale                                  -
                                                                          Medley Homes for Sale                                          -
   16720 SW 36th St, Miramar, FL 33027
                                                                          Lake Lucerne Homes for Sale                                    -
                                                                          Country Estates Homes for Sale                                 -
   / auction                  : $657,000
                                                                          HOME VALUES BY NEIGHBORHOOD
                                                                          Century Village Homes for Sale                         $237,805
                                                                          Monarch Lakes Homes for Sale                           $619,921
                                                                          Miramar Patio Homes for Sale                           $549,840
    Overview Facts and features Foreclosure information Home value   Price and tax history Payment calculator Nearby$683,714
                                                              Huntington Homes for Sale
                                                                                                                      sch
                                                                          Silver Falls Homes for Sale                            $594,499
        Singlefamily                                                      Aventine Homes for Sale                                $326,821
                                                                          Cobblestone Homes for Sale                             $473,187
        Built in 2000
                                                                          Flamingo Estates Homes for Sale                        $635,089
        No data                                                           Spanish Lakes Homes for Sale                           $586,081
                                                                          Silver Shores Homes for Sale                           $700,844
        No data
                                                                          Marbella Park Homes for Sale                           $619,834

        No data                                                           Santorini Isles Homes for Sale                         $590,336
                                                                          Escada Homes for Sale                                  $493,105
        $222 monthly HOA fee                                              Silver Isles Homes for Sale                            $728,487

        5,364 sqft                                                        St. Andrews Homes for Sale                             $290,633
                                                                          El-Ad Enclave Homes for Sale                           $289,671
        $265 price/sqft                                                   Montclair Homes for Sale                               $517,641
                                                                          Milano Homes for Sale                                          -
                                                                          Martinique Homes for Sale                              $408,470
   Overview                                                               Windsor Palms Homes for Sale                           $783,325

   This is a 2481 square foot, single family home. This home is located
                                                                    HOMEatVALUES
                                                                           16720BYSW
                                                                                   ZIP36th
                                                                                       CODESt, Miramar, FL 33027.
                                                                          33024 Homes for Sale                                   $457,138
   98 days on Zillow                    |              34                        |                      0
                                                                          33025 Homes for Sale                                   $404,144

   Listed by:                                                             33023 Homes for Sale                                   $434,229
                                                                          33012 Homes for Sale                                   $376,162
                                                                          33015 Homes for Sale                                   $407,357
                                                                          33027 Homes for Sale                                   $482,678
                  Get pre-qualified for a loan
                                                                          33018 Homes
                  Talking to a lender early to get pre-qualified for a mortgage       for Sale
                                                                                 can give   you an advantage in a competitive    $517,645

                      k                                                   33016 Homes for Sale                                   $309,017
                                                                          33029 Homes for Sale                                   $685,300
                                                                          33169 Homes for Sale                                   $447,003
                                                                          33014 Homes for Sale                                   $420,986
                                                                          33055 Homes for Sale                                   $464,260
                                                                          33056 Homes for Sale                                   $444,207
                                                                          33026 Homes for Sale                                   $450,813
                                                                          33328 Homes for Sale                                   $614,461
                                                                          33054 Homes for Sale                                   $388,720
                                                                          33331 Homes for Sale                                   $812,833
                                                                          33028 Homes for Sale                                   $659,869


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                                                                          16720     Filed    01/04/24
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                                                                                          33330 Homes for Sale                                                                   $1,015,234
                                                                                          33332 Homes for Sale                                                                      $971,958

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                                                                                          Disclaimer: School attendance zone boundaries are supplied by Pitney Bowes
                                                                                          and are subject to change. Check with the applicable school district prior to
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        Built in 2000                                                                     About the ratings: GreatSchools ratings are based on a comparison of test
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        Singlefamily

        Built in 2000

        No data

        No data

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        $222 monthly HOA fee

        5,364 sqft

        $265 price/sqft



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